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S. DISTRICT CCURT
EASTERN Mist ef Oe TEXAS

Oo ao AUG 0.1 2011

IN THE UNITED STATES DISTRICT COURT :
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FORTHE eneteo.t DISTRICT UPRERAGMALAND, CLERK
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Form To Be Used By A Prisoner in Filing a Complaint
Under the Civil Rights Act, 42 U.S.C, § 1983 .

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Plaintiff's name and ID Number

"Bo" Ton watace Uuyr CTp ars)
Place of Confinement PED p>
casENo: @'M(V SF lg
(Clerk will assign the number)

Vv,

Pxcv TH ee 00. Bex aq MUNTSVILLE Tx. 77342-0014
Defendant’s name and address

PAi4 PAes Po. fox 444 HUNTSVALLE Tie, “T1342-0094
Defendant’s name and address

She WARDEN CHUCK BISCVE 134) Fm 3328 TENNESSEE COMY, Tk. TSBCO
Defendant’s name and address

(DO NOT USE “ET AL.”) oo

INSTRUCTIONS - READ CAREFULLY

NOTICE;

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy-of your cortiplaint with the court. You should keep a

copy of the complaint for your own records,

2. ‘Your complaint must be legibly handwritten in ink, or typewritten, You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct, If you need additional space, DO NOT USE THE

REVERSE SIDE OR BACK SIDE OF ANY PAGE, ATTACH AN ADDITIONAL BLANK PAGE AND
WRITEONIT.

ibrary. It is a list of Texas prison units indicating the appropriate District Court, the Division and an
address of the Divisional Clerks,

ATC 1983 (Rev Nama

FILING FEE AND IN FORMA PAUPERIS

1. In order for your complaint to be filed, it must be accompanied by the filing fee of $350.00.

application to proceed IFP and appropriate Inmate Account Certificate from the law library at your pris

unit, .

brings a civil action or files and appeal in’ forma pauperis, the prisoner shall be required to pay the fi

4. Of you intend to seek in Jorma pauperis status, then do not send your complaint without an Application t.
Proceed IFP, and the Certificate of Inmate Trust Account, Complete all the essential paperwork befor

submitting it to the Court,

CHANGE OF ADDRESS

I. PREVIOUS LAWSUITs:

A. Have you filed any other lawsuits in the state or federal court relating to
‘. imprisonment? YES NO

B. If your answer to “A” is yes, describe each lawsuit in the space below. (If there is more than one lawsuit,
describe the additional lawsuits on another piece of paper, giving the same information.)

1. Approximate date of filing lawsuit: N/A

2. Parties to previous lawsuit:
Plaintiff(s): NAA
' Defendant(s): . N/A
3. Court (If federal, name the district; if State, name the county) NA

4. Docket Number: NZA
5. Name of judge to whom case was assigned: NZA

6. Disposition: (Was the case dismissed, appealed, stil] pending?)

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7. Approximate date of disposition: N/A,

ATC 10284 Maw naine

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TH. 7 S)2.

- JI. EXHAUSTION OF GRIEVANCE PROCEDURES:
a Have you exhausted both steps of the grievance procedure in this institution? “Vf” sys — “NC
Attach a copy of the Step 2 grievance with the Tesponse supplied by the prison system, .

IV. PARTIES TO THE SUIT:
A. Name of address of plaintiff: \E\. P cE 12 SFM 3525 Cowpano CITY, Tx.
19512.

B. Full name of each defendant, his official Position, his place of employment, and his full mailing address.

Defendant #1: PEC:

—TEXAS DEPabrmeair OF CAA ence

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you, AS O\eecToR
RE FAILED To cisure THAT VAT LEVEL STA PE PPP EAL TevTa Fu AUD INVESHGSTEO
Ppp SAVET wi E ; ASSAVLTED (NE

NE.

this defendant, which you claimed harmed you. AS PB.E,A,

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Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed YOu, CONTACTED THE
LEADER oF SECUPITY THREAT GROUP A
CATE: NS HILE 4

VL WAS Seve
Defendant #5:

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed YOu.COLABOLATED Win

SGT. LUNA ‘To ExPrse me. TW THE SEUAITY THeEAT GAOvP LeadeR wricd PESULTED IN THE GADUP Knowal
” AST" SLY ATTAC ME AYO PANE Vv CEC CAUSA

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V. STATEMENT OF CLAIM:

a nn ee — oe hen ee
State here in a short and Plain statement the facts of your case, that is, What happened, where did
when did it happen, and who was Involved, Describe how e is i

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B. List all TOCJ-Ip identification numbers yo

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or FBI numbers ever assigned to you, if ktio

gned and all other state or federal prison
Ww to you.

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VI. SANCTIONS:

A. Have you been sanctioned by any court as a result of any lawsuit you have filed?

B. If your answer igs “yes”,

I. Court that imposed sa:
2, Case Number:

3. Approximate date Sanctions were imposed:

. a
4. Have the sanctions been lifted or otherwise

satisfied? YES ° NO

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CATIACHMENT 06.1)
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RESPONSIBLE WERE HELO ACWOUMTYBLE, OR PUMISHED-

C. Has any court ever wamed or notifi

ed you that sanctions could be imposed? YES \/ NO
ee oe no Cn nme

D. If your answer is “yes”, give the following information for every lawsuit in whi
— . . (If more than ong,,use another piece of Paper and answer the samé questions.)

——

fee
1. Court that imposed warning (if federal, give the district and division):
2. Case number:

3. Approximate date warning were imposed:
oe
Executed on: , SuLy 26, 2o)1

Danner ?. Came BELL.
(Date) .

. (Printed Name)

(Signature of PlaintifD

PLAINTIFF'S DECLARATIONS

1. I declare under penal

Signed this 2@+y4

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(Day) onth) (Year)
Pew D Camemel

inted Name)
. . p 1 (
(Signature of laintiff)

WARNING: The Plaintiff is hereby advised any false or deliberately misleadin
response to the following quest} i

g information provided in
impose include, but are

The sanctions the Court may
of this action with prejudice,

ATC 1984 (Rev 04/6)

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OFFICE USE ONLY
Texas Department of Criminal Justice | Grievance irtO! IH | 770
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GRIEVANCE FORM ~ J ON
Date De Due? é
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> .
Unit: Zaye LEV Housing Assignment: 1/7 77 Investigator ID #: Lele Z
Unit where incident occurred: Ceuye LCVD Extension Date:
You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
accepted. You may not appeal to Step 2 with a Step 1 that has been returned unprocessed.

Give reason for appeal (Be specific). I am dissatisfied with the response at Step 1 because..

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1-128 Front (Revised 9-1-2007) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix G

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Offender Signature: Auhlectl Camyhohl ” Date: 2 s Ll Zoos /

Grievance Response:
The step 1 response has properly addressed your complaint. Ti.e Classification Department
reports that you have been recommended for a transfer. You ar: currently housed in transient
status pending State Classification Committee approval. No further action is warranted at this

time.

nae 4-9 -)]

Signature Authority: <
Returned because: *Resubmit this form when corrections are made. OFFICE USE ONLY
Initial Submission CGO Initials:
["] 1. Grievable time period has expired. Date UGI Reed:
[_] 2. Ilegible/Incomprehensible. * Date CGO Recd:
| 3, Originals not submitted. * (check one)____ Screened ___ Improperly Submitted
. . Comments:
[_] 4. Inappropriate/Excessive attachments. * Date Returned to Offender:
[_] 5. Malicious use of vulgar, indecent, or physically threatening language. 2 Submission CGO Initials: .
[ ] 6. Inappropriate. * Date UGI Recd:
Date CGO Recd:
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CGO Staff Signature: Date Returned to Offender:
3" Submission CGO Initials:
Date UGI Recd:
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1-128 Back (Revised 9-1-2007) Appendix G

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